Case 2:16-cv-06785-MWF-AJW Document 213 Filed 07/31/18 Page 1 of 4 Page ID #:7079

                                           United States District Court
                                                           Central District of California

                                    APPLICATION TO THE CLERK TO TAX COSTS


ESTATE OF FERAS MORAD,et al.
                                                                         Case Number: 16-CV-06785-MWF-AJW

CITY OF LONG BEACH,et al.


Judgment was entered in this action on 07-20-2018 j 204                      against Plaintiffs
                                                    Date        Docket No.



  NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.


Filing fees: see L.R. 54-3.1
Fees for service of process: see L.R. 54-3.2.                                                                                        $460.00

United States Marshal's fees: see LR. 54-3.3,

Reporter's transcripts: see L.R. 54-3.4.
Depositions; see L.R. 54-3.5                                                                                                       $19,925.90

Witness fees (itemize on page 2): see L.R. 54-3.6.,                                                                                 $9,794.31

Interpreter's and translator's fees: see L.R. 54-3.7,
Docket fees: see L.R. 54-3.8.

Masters, commissioners and receivers: see LR. 54-3.9.

 Certification, exemplification and reproduction of documents; see L.R. 54-3.10.
Premiums on bonds and undertakings: see L.R. 54-3.11
 Other Costs: see LR. 54-3.12 (attach court order)

State Court costs: see L.R. 54-3.13.

 Costs on appeal: see L.R. 54-4
 Cost of a bankruptcy appeal to the District Court:see LR.54-5.

                                                                                                             TOTAL                 $30,180.21

NOTE;You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION                                                                  '
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              [7] The Court's CM/ECF System
              I I Conventional service by first class mail
              I I Other
                                                                                         Howard D. Russell, Deputy City Attorney
 Signature                                                                               Print Name



 Attorney for: City of Long Beach and Robert Luna

 Costs are taxed in the amount of



 Clerk of Court                                                Deputy Cierli

CV-59(12/14)                                                         BILL OF COSTS
 Case 2:16-cv-06785-MWF-AJW Document 213 Filed 07/31/18 Page 2 of 4 Page ID #:7080


                              WITNESS FEES(computation,see 28 U.S.C.§ 1821 for statutory fees)
                                                 ATTENDANCE            SUBSISTENCE           MILEAGE
                                                                                                               Total Cost
               NAME,CITY AND STATE
                                                                                                              Each Witness
                                                Days   Total Cost   Days    Total Cost   Miles   Total Cost

       Michael Leonesio, Knoxville,TN            1     $1,360.00                                                    $1,360.00

       Rick Sarklsian, Ph.D., Fresno, CA          1    $1,462.50                                                    $1,462.50

  Anthony Reading,Ph.D., Beverly Hills, CA       1     $1,400.00                                                    $1,400.00

         Darryl Zengler, Pasadena,CA              1     $700.00                                                       $700.00

   Michael Fishbein, M.D.,Los Angeles,CA          1    $1,200.00                                                    $1,200.00

        John Gardiner, Los Angeles, CA            1    $2,250.00                                                    $2,250.00

      Scott Defoe,Huntington Beach,CA             1    $1,050.00                                                    $1,050.00

          David Jackson, Orange,CA                1     $40.00                           68.4     $36.93                $76.93

      Marshaun Jackson, Long Beach,CA             1     $40.00                           53.8     $29.05               $69.05

       Ryan Fobes,Thousand Oaks,CA                1     $40.00                           91.59    $49.46                $89.46

       Sopheary Doun,Long Beach,CA                1     $40.00                           52.8     $28.51                $68.51

      Brianna Degrano,Long Beach,CA               1     $40.00                           51.6     $27.86                $67.86




                                                                                                   TOTAL            $9,794.31



CV-59(12/14)                                           BILL OF COSTS                                               Page 2 of2
        Case 2:16-cv-06785-MWF-AJW Document 213 Filed 07/31/18 Page 3 of 4 Page ID #:7081



                                                    PROOF OF SERVICE

                     STATE OF CALIFORNIA
                                                         ss
                3    COUNTY OF LOS ANGELES

                4    I am employed in the County of Los Angeles, State of California. I am over the age
                     of eighteen and I am not a party to the within entitled action. My business address is
                5    333 W. Ocean Blvd., 11th Floor, Long Beach, California 90802-4664.
                6    On July 31,2018,1 served the within: DEFENDANTS APPLICATION TO THE
                     CLE^ TO TAX COSTS
                7
                     on all interested parties in said action, by placing a true copy and/or original thereof
                8    enclosed in sealed envelopes addressed as follows:
                9                           *SEE ATTACHED SERVICE LIST

                10   □     BY MAIL: I am "readily familiar" with the firm's practice of collection and
                           processing of corresponaence for mailing. Under that practice it would be
                11         deposited with the U.S. postal service on that same day with postage thereon
                           fufly prepaid at Long Beach, California in the ordinaiy course of business. I
                12         am aware that on motion of the party served, service is presumed invalid if
    B                      postal cancellation date or postage meter date is more than one day after date
    li          13         of deposit for mailing in afiidavit.
>-
Hz—
    u           14   □     BY UPS NEXT DAY AIR: I caused said envelope(s) to be sent by UPS to
n « 3
u   o                      the addressee(s).
u 2 CO          15
   §                 □     BY PERSONAL SERVICE: I caused to be delivered such document(s) by
o w6? 16                   hand to the person(s) stated above.
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o       S
                17   □     BY FACSIMILE MACHINE: In addition to the above service by mail,
                           hand delivery or UPS, I caused said document(s) to be transmitted oy
                18         facsimile machine to the addressee(s).
                19   1*1   BY ELECTRONIC MAIL: In addition to the above service by mail, hand
                           delivery, or UPS, I caused said document(s) to be transmitted by scanning the
                20         document into a PDF or comparable electronic format and sent that document
                           by email transmission.
                21
                     Executed on July 31,2018, at Long Beach, California.
                22
                     ®      QFederal) I declare that I am employed in the offic^f a member of the bar of
                23         this court at whose direction the service was made
                24

                25

                26                                                               VaneSs^TJuiroz
                27

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       Case 2:16-cv-06785-MWF-AJW Document 213 Filed 07/31/18 Page 4 of 4 Page ID #:7082


                                               SERVICE LIST

                   Dan Stormer, Esq.
                   Cindy Panuco, Esq.                Peter Ferguson, Esq.
                   Caitlan McLoon,Esq.
              3    Joshua Piovia, Esq.
                   HADSELL,STORMER & RENICK,         SHERMAN,APC
              4    LLP                                1631 E. 18th Street
                   128 N. Fair Oaks Ave.             Santa Ana, California 92705
              5    Pasadena, CA 91103                PeterFerg@aoLcom
                   dstormer@hadsellstormer.com       achristiansen@law4cops.com
              6    cindypanuco@hadsellstormer.com
                   cmcloon@haasellstormer.com        Attorney for Defendant, Matthew
              7    Telephone: 626.585,9600           Hernandez
                   Facsimile: 626.577.7079
              8
                   Attorneyfor Plaintiffs
              9
                   Joshua Piovia-Scott, Esq.
              10   HADSELL,STORMER & RENICK,
                   LLP
              11   4300 Horton Street, #15
                   Emeryville, CA 94o08
   iv O
              12   Jps@hadseIlstormer,com
   ^O
   E                Telephone: (415)685-3591
   c2         13   Facsimile: (626)577-7079
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k .^"2
              14   Attorneyfor Plaintiffs
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